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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )
HARLAND CLARKE HOLDINGS CORP.                       )
And SCANTRON CORPORATION,                           )
                                                    )
                      Plaintiffs,                   )
                                                    )
               v.                                   )      Civil Action No. 14-138-GMS
                                                    )
MICHAEL MILKEN and                                  )
KAL YANARAMAN SRINIVASAN                            )
                                                    )
                      Defendants.                   )


                                         JUDGMENT

       For the reasons set forth in the Court's Order dated March 4, 2015 (D.1. 177);

       IT IS ORDERED AND ADJUDGED that judgment be and is hereby entered in favor of

Defendants and against Plaintiffs.




Dated: 3/3112015
